          Case 1:20-cr-00412-AT Document 87 Filed 02/26/21 Page 1 of 1

                                                                USDC SDNY
UNITED STATES DISTRICT COURT                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                   ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                       DOC #: _________________
                                                                DATE FILED: 2/26/2021

              -against-
                                                                         20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                               ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

         The Court has reviewed Defendant Stephen Bannon’s letter dated February 18, 2021
(the “Letter”), transmitted to the Court via email, and the Government’s response, ECF No. 86.
Accordingly,

       1. By March 5, 2021, Bannon shall file the Letter on the docket, or move to file it under
          seal;
       2. By March 19, 2021, Bannon shall file his motion to dismiss;
       3. By April 2, 2021, the Government shall file its opposition; and
       4. By April 9, 2021, Bannon shall file his reply, if any.

       SO ORDERED.

Dated: February 26, 2021
       New York, New York
